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        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT



                                       No. 23-1810



                  Kytch, Inc., v. Taylor Commercial Foodservice, LLC
                               (D. Del. No. 1:22-cv-00606)



                                         ORDER



       The plaintiff has appealed after the district court orally dismissed the plaintiff’s
complaint without prejudice. The parties must address whether an appeal may be taken
from the district court’s oral decision, memorialized in a docketed transcript, see, e.g.,
Spain v. Gallegos, 26 F.3d 439, 445 n.9 (3d Cir. 1994); Plant Econ., Inc., v. Mirror
Insulation Co., 308 F.2d 275, 278 n.9. (3d Cir. 1962), or whether this appeal should be
stayed under Federal Rule of Appellate Procedure 4(a)(2). The parties must also address
whether this Court has appellate jurisdiction in light of the “without prejudice” dismissal.
See, e.g., Weber v. McGrogan, 939 F.3d 232, 236–42 (3d Cir. 2019); Borelli v. City of
Reading, 532 F.2d 950, 951 (3d Cir. 1976). All parties must file written responses
addressing these issues within fourteen (14) days from the date of this order.



For the Court,

s/ Patricia S. Dodszuweit
Clerk


Dated: May 5, 2023
PDB/cc: All Counsel of Record
